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   8                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   9
   10 TARGUS INTERNATIONAL LLC
                                                  Case No.: 8:20−cv−00782−JLS−DFM
   11
                                                  ORDER SETTING SCHEDULING
   12                Plaintiff(s),                CONFERENCE FOR AUGUST 7,
                                                  2020 AT 10:30 AM, COURTROOM
   13       v.                                    10-A

   14 SWISSDIGITAL USA CO., LTD.
   15
                    Defendant(s).
   16
   17
   18        Judge Staton’s Procedures web page is incorporated in this Order.
   19        The parties and counsel are ORDERED to review and comply with those
   20   procedures and notices, which may be accessed at:
   21             http://www.cacd.uscourts.gov/honorable-josephine-l-staton
   22
   23        This case has been assigned to Judge Josephine L. Staton. If plaintiff has
   24   not already served the complaint (or any amendment thereto) on all defendants,
   25   plaintiff shall promptly do so and shall file proofs of service within three (3) days
   26   thereafter. Defendants also shall timely serve and file their responsive pleadings
   27   and file proofs of service within three days thereafter.
   28


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   1         This case is set for a scheduling conference under Federal Rule of Civil

   2    Procedure 16(b) on the date and time stated in the caption of this Order, in

   3    Courtroom 10A of the Ronald Reagan Federal Building and United States

   4    Courthouse, 411 West Fourth Street, Santa Ana, California. Unless excused for

   5    good cause shown in advance of scheduling conference, lead counsel shall appear

   6    at the scheduling conference at all pretrial hearings fully informed concerning

   7    the facts of the case. If the Court determines that a Scheduling Order can be issued

   8    based on the Joint Rule 26(f) Report, the scheduling conference will be vacated.

   9
   10        Attached to this Order, as Exhibit A, are the Court’s presumptive dates.

   11   Parties wishing to deviate from this schedule shall provide the Court with reasons

   12   for each suggested change. A Joint Rule 26(f) Report that is filed without a

   13   fully completed Exhibit A will be rejected by the Court and may subject the

   14   parties to sanctions.

   15
   16        Effective January 1, 2018, the Court adopted a procedure in civil cases that

   17   defers setting a trial date and an exhibit conference date until the parties appear for

   18   the Final Pretrial Conference. The parties are expected to address these issues at

   19   the Final Pretrial Conference; therefore, the parties are directed to confer before the

   20   Final Pretrial Conference to identify mutually agreeable trial date(s) within the 90

   21   days following the Final Pretrial Conference. Where the Court’s trial calendar

   22   permits, the Court will set the trial for a date agreed upon by the parties.

   23
   24        1.     Joint Rule 26(f) Report

   25        As provided in Fed. R. Civ. P. 26(f), the parties shall meet at least 21 days

   26   before the scheduling conference and file a Joint 26(f) Report (“Report”) no later

   27   than 14 days before the date set for the scheduling conference. The Report shall

   28   be drafted by plaintiff (unless the parties agree otherwise), but shall be submitted


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   1    and signed jointly. “Jointly” contemplates a single report, regardless of how many

   2    separately represented parties there are.

   3         The Report shall discuss the issues described below. Counsel are to ensure

   4    that their discussions of these issues fully address the topics identified by Federal

   5    Rule of Civil Procedure 26(f)(3)(A)-(F) and Local Rule 26-1(a)-(f).

   6                a.      Statement of the case: a short synopsis (not to exceed two

   7    pages) of the main claims, counterclaims, and affirmative defenses.

   8                b.      Legal issues: a brief description of the key legal issues,

   9    including any unusual substantive, procedural, or evidentiary issues.

   10               c.     Damages: the realistic range of provable damages.

   11               d.      Insurance: whether there is insurance coverage, the extent of

   12   coverage, and whether there is a reservation of rights.

   13               e.     Motions: statement of the likelihood of motions seeking to add

   14   other parties or claims (see Local Rule 26-1(e)), file amended pleadings, to dismiss

   15   for lack of jurisdiction, or to transfer venue.

   16               f.     Complexity: a discussion regarding the complexity of the case,

   17   and whether all or part of the procedures of the Manual for Complex Litigation

   18   should be utilized. See Local Rule 26-1(a).

   19               g.      Status of Discovery: a report regarding the current status of

   20   discovery, including whether initial disclosures have been made and a summary

   21   of any completed discovery.

   22               h.      Discovery Plan: The parties must set forth a detailed discovery

   23   plan that discusses all the Federal Rule of Civil Procedure 26(f)(3)(A)-(F) topics,

   24   including topics related to initial discloses, the anticipated subjects of discovery,

   25   the time needed for discovery, issues related to electronically stored information

   26   (“ESI”), issues related to privileged materials, whether changes to limitations on

   27   discovery should be made, issues related to protective orders, and any other Rule

   28   16(b) or 16(c) issues. The parties must propose a discovery cutoff date for the


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   1    completion of fact discovery.

   2                i.     Expert Discovery: The parties shall discuss the timing of expert

   3    disclosures and discovery. See Fed. R. Civ. P. 26(a)(2); Local Rule 26-1(f).

   4                j.      Dispositive motions: The parties shall set forth a description

   5    of the issues or claims that any party believes may be determined by motion for

   6    summary judgment or partial summary judgment. See Local Rule 26-1(b).

   7                k.     Alternative Dispute Resolution (“ADR”) Procedure Selection:

   8    The parties must select either ADR Procedure No. 2 (Court Mediation Panel) or

   9    ADR Procedure No. 3 (private mediation); ADR Procedure No. 1 (conference with

   10   the magistrate judge) may not be selected by the parties. See generally General

   11   Order 11-10, § 5.1; Local Rule 26-1(c). For more information about the Court’s

   12   ADR Program, please visit the “ADR” section of the Court website,

   13   http://www.cacd.uscourts.gov.

   14                l.    Settlement Efforts: Without disclosing the substance of the

   15   communications, the parties shall advise the Court regarding whether they have

   16   discussed settlement or had written communications regarding settlement. The

   17   parties are advised that no case will proceed to trial unless all parties, including

   18   the principals of all corporate parties, have appeared personally at a mediation.

   19               m.      Preliminary Trial Estimate: The parties must provide a

   20   realistic estimate of the time required for trial. See Local Rule 26-1(d). The parties’

   21   estimate is for planning purposes only; the Court may allot fewer days for trial.

   22   The parties shall specify whether trial will be by jury or to the Court, and each side

   23   must specify the number of witnesses it expects to call.

   24               n.     Trial counsel: the name(s) of the attorney(s) who will try the

   25   case.

   26               o.     Independent Expert or Master: the parties must advise the

   27   Court whether this is a case in which a master pursuant to Federal Rule of Civil

   28   Procedure 53 or an independent scientific expert should be appointed. The


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   1    appointment of a master may be appropriate if there are likely to be substantial

   2    discovery disputes, numerous claims to be construed in connection with a summary

   3    judgment motion, a lengthy Daubert hearing, or resolution of a difficult

   4    computation of damages.

   5                p.     Other issues: a statement of any other issues affecting the status

   6    or management of the case (e.g., unusually complicated technical or technological

   7    issues, disputes over protective orders, extraordinarily voluminous document

   8    production, non-English speaking witnesses, discovery in foreign jurisdictions, etc.)

   9    and any proposals concerning severance, bifurcation, or other ordering of proof.

   10
   11        2.     Notice to be Provided by Counsel

   12        Plaintiff’s counsel shall provide this Order to any parties who first appear

   13   after the date of this Order and to parties who are known to exist but have not yet

   14   entered appearances. If plaintiff is appearing pro se, but defendant is represented

   15   by counsel, defendant’s counsel shall provide this notice.

   16
   17        3.     Disclosures to Clients

   18        Counsel are ordered to deliver to their respective clients a copy of this Order,

   19   the Court’s trial order, and the Scheduling order.

   20
   21        4.     Class Actions

   22        The parties are directed to the portion of Judge Staton’s Procedures web page

   23   (http://www.cacd.uscourts.gov/honorable-josephine-l-staton) regarding class action

   24   scheduling issues. As explained in further detail on the web page, the parties are

   25   directed to discuss class action scheduling issues in their Joint Rule 26(f) Report.

   26
   27        5.     Utility Patent Cases

   28               a. Presumptive Schedule and Exhibit B: In patent cases, the Court


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   1     intends generally to follow the Northern District of California Patent Local Rules.

   2     However, the Court’s presumptive schedule differs from that set forth in the

   3     Northern District Rules and, where it does, the Court’s presumptive schedule

   4     controls. In patent cases, counsel should review, prepare, and attach the Court’s

   5     Joint Rule 26(f) Report utility patent-specific Exhibit B (in lieu of the Exhibit A).

   6     Exhibit B is available on Judge Staton’s Procedures web page.

   7                 b. Technology Tutorial: Because the Court may be unfamiliar with

   8     the technology underlying many litigated patents, the parties should consider the

   9     most efficient and effective manner in which to educate the Court regarding that

   10    technology. Counsel must file a joint status report setting forth their proposal(s) no

   11    later than 60 days in advance of the claim construction hearing. If the Court deems

   12    it appropriate, the Court will schedule an in-Court technology tutorial or make other

   13    appropriate orders. Counsel are strongly encouraged to present any educational

   14    materials in a manner that is free of advocacy and unencumbered by each side’s

   15    respective litigation position(s).

   16         The Court thanks the parties and their counsel for their anticipated cooperation

   17    in complying with the requirements set forth in this Order.

   18
            IT IS SO ORDERED.
   19
        Dated: June 17, 2020                         JOSEPHINE L. STATON
   20
                                                     United States District Judge
   21
   22    Revised: October 1, 2018
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                           EXHIBIT A
           PROPOSED SCHEDULE OF PRETRIAL AND TRIAL DATES

    CASE NAME:
    CASE NO:

                                                          Plaintiff(s)    Defendant(s)
               Matter                   Deadline           Request          Request

     Last Day to File Motions to       Scheduling
     Add Parties and Amend           Conference Date
     Pleadings                        plus 60 Days

                                    18 weeks before the
     Fact Discovery                    Final Pretial
     Cut-Off                       Conference (“FPTC”)

     Last Day to Serve Initial      16 weeks before the
     Expert Reports                       FPTC

     Last Day to File Motions       16 weeks before the
     (except Daubert and all              FPTC
     other Motions in Limine)
     Last Day to Serve Rebuttal     12 weeks before the
     Expert Reports                       FPTC

     Last Day to Conduct            9 weeks before the
     Settlement Proceedings              FPTC

                                    8 weeks before the
     Expert Discovery Cut-Off            FPTC

     Last Day to File Daubert       7 weeks before the
     Motions                              FPTC

     Last Day to File Motions       4 weeks before the
     in Limine (other than
                                         FPTC
     Daubert Motions)

     Final Pre-Trial Conference
     (Friday at 10:30 a.m.)

    Revised: October 1, 2018




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